Case 4:17-cv-00525-GKF-JFJ Document 2-1 Filed in USDC ND/OK on 09/15/17 Page 1 of 12




                  EXHIBIT 1
Case 4:17-cv-00525-GKF-JFJ Document 2-1 Filed in USDC ND/OK on 09/15/17 Page 2 of 12
Case 4:17-cv-00525-GKF-JFJ Document 2-1 Filed in USDC ND/OK on 09/15/17 Page 3 of 12
Case 4:17-cv-00525-GKF-JFJ Document 2-1 Filed in USDC ND/OK on 09/15/17 Page 4 of 12
Case 4:17-cv-00525-GKF-JFJ Document 2-1 Filed in USDC ND/OK on 09/15/17 Page 5 of 12
Case 4:17-cv-00525-GKF-JFJ Document 2-1 Filed in USDC ND/OK on 09/15/17 Page 6 of 12
Case 4:17-cv-00525-GKF-JFJ Document 2-1 Filed in USDC ND/OK on 09/15/17 Page 7 of 12
Case 4:17-cv-00525-GKF-JFJ Document 2-1 Filed in USDC ND/OK on 09/15/17 Page 8 of 12
Case 4:17-cv-00525-GKF-JFJ Document 2-1 Filed in USDC ND/OK on 09/15/17 Page 9 of 12
Case 4:17-cv-00525-GKF-JFJ Document 2-1 Filed in USDC ND/OK on 09/15/17 Page 10 of 12
Case 4:17-cv-00525-GKF-JFJ Document 2-1 Filed in USDC ND/OK on 09/15/17 Page 11 of 12



                                 IN THE DISTRICT COURT OF TULSA COUNTY
                                           STATE OF OKLAHOMA

  KATHRYN TAYLOR,

                              Plaintiff,

  u                                                                    Case No.

  AMERICAN INTERNATIONAL GROUP, INC.,
  AIG PROPERTY CASUALTY COMPANY, and
  ROBERTSON TAYLOR INTERNATIONAL
  INSURANCE BROKERS, INC.,                                               Ci- 2 0 1'7_ 0 29 20
                              Defendants.                                         DMA LYNP► KUEHN
                                                         SUMMONS

 To the above-named Defendant:              AMERICAN INTERNATIONAL GROUP, INC.
                                            c/o United States Corporation Company, Registered Agent
                                            251 Little Falls Drive
                                            Wilmington, DE 19808

           You have been sued by the above-named Plaintiff, and you are directed to file a written answer to the attached
 Petition in the Court at the above address within twenty (20) days after service of this Summons, upon you, exclusive of the
 day of service. Within the same time, a copy of your answer must be delivered or mailed, to the attorneys-for
                                                                                                         I        the Plaintiff:
 Unless you answer the Petition within the time stated, judgment will be rendered against yoa'with ccst`s of the aetion.

          Issued this D9 day of July, 2017.

                                                        DON NEWBERRY, COUR1' CLERh~ ~~
                                                                                    f~~;,yi - !`

 (SEAL)                                                 By:
                                                                          Deputy Court Clerk                       ~

 ATTORNEYS OF RECORD FOR PLAINTIFF:
 Reggie N. Whitten, OBA #9576
 Michael Burrage, OBA #1350
 J. Revell Parrish, OBA #30205
 WHITTEN BURRAGE
 512 North Broadway Avenue, Suite 300
 Oklahoma City, OK 73102
 Telephone:         (405) 516-7800
 Facsimile:         (405) 516-7859
 rwhitten@whittenburragelaw.com
 mburrage@whittenburragelaw.com
 rparrish@whittenburragelaw.com

 This summons was served on:
                                              (date of service)

 Signature of person serving summons

 YOU MAY SEEK THE ADVICE OF AN ATTORNEY ON ANY MATTER CONNECTED WITH THIS SUIT OR YOUR ANSWER. SUCH
 ATTORNEY SHOULD BE CONSULTED IMMEDIATELY SO THAT AN ANSWER MAY BE FILED WITHIN THE TIME LIMIT STATED IN THE
 SUMMONS.
Case 4:17-cv-00525-GKF-JFJ Document 2-1 Filed in USDC ND/OK on 09/15/17 Page 12 of 12



                                IN THE DISTRICT COURT OF TULSA COUNTY
                                          STATE OF OKLAHOMA
                                                                                                          RECEIVED
                                                                                               pW'10MA 1N
 KATHRYN TAYLOR,                                                                                         SURANCEDEpqRTME
                                                                                                                           Nr
                                                                                                     AUG 17 zo»
                           Plaintiff,
                                                                                                      LegalDksron
 u                                                                     Case No.

 AMERICAN INTERNATIONAL GROUP, INC.,
 AIG PROPERTY CASUALTY COMPANY, and
 ROBERTSON TAYLOR INTERNATIONAL
 INSURANCE BROKERS, INC.,
                                                                  CJ.
                                                                    x'1 7 a=
                                                                             ''
                                                                                &"h 4%
                                                                                                                     y: ; !;
                                                                                                                           t


                           Defendants.
                                                                                D      A LYNN KuEIItv
                                                        SUMMONS

 To the above-named Defendant:             AIG PROPERTY CASUALTY COMPANY
                                           c/o Oklahoma Insurance Department
                                           Attn: Legal Division
                                           Five Corporate Plaza
                                           3625 N.W. 56th Street, Suite 100
                                           Oklahoma City, OK 73112

           You have been sued by the above-named Plaintiff, and you are directed to file a written answer to the attached
 Petition in the Court at the above address within twenty (20) days after service of this Summons upon you, exclusive of the
 day of service. Within the same time, a copy of your answer must be delivered or mailed to the attorneys for the Plaintiff.
 Unless you answer the Petition within the time stated, judgment will be rendered against you with costs of the action.

          Issued this "~ "day of July, 2017.

                                                      DON NEW            Y, COURT CLERK

 (SEAL)                                               By:
                                                                        Deputy Court Clerk

 ATTORNEYS OF RECORD FOR PLAINTIFF:
 Reggie N. Whitten, OBA #9576
 Michael Burrage, OBA #1350
 J. Revell Parrish, OBA #30205
 WHITTEN BURRAGE
 512 North Broadway Avenue, Suite 300
 Oklahoma City, OK 73102
 Telephone:         (405) 516-7800
 Facsimile:         (405) 516-7859
 rwhitten@whittenburragelaw.com
 mburrage@whittenburragelaw.com
 rpar-rish@whittenburragelaw.com

 This summons was served on:
                                             (date of service)

 Signature of person serving summons

 YOU MAY SEEK THE ADVICE OF AN ATTORNEY ON ANY MATTER CONNECTED WITH THIS SUIT OR YOUR ANSWER. SUCH
 ATTORNEY SHOULD BE CONSULTED IMMEDIATELY SO THAT AN ANSWER MAY BE FILED WITHIN THE TIME LIMIT STATED IN THE
 SUMMONS.
